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                                                                     HONORABLE JOHN H. CHUN
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                                   UNITED STATES DISTRICT COURT
 7                           FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
     FEDERAL TRADE COMMISSION,
 9                                                    Case No. 2:23-cv-0932-JHC
                            Plaintiff,
10                                                    MOTION FOR LEAVE TO FILE
              v.                                      AMICUS CURIAE BRIEF BY
11                                                    INTERACTIVE ADVERTISING
     AMAZON.COM, INC., et al.,                        BUREAU IN SUPPORT OF
12                                                    DEFENDANTS’ MOTIONS TO
                            Defendant.                DISMISS
13
                                                     NOTE ON MOTION CALENDAR:
14                                                   November 10, 2023
15

16                                         I.   INTRODUCTION
17            The Interactive Advertising Bureau (“IAB”) hereby respectfully submits this Motion for
18 Leave to File an Amicus Curiae Brief in support of Defendant Amazon.com, Inc.’s Motion to

19 Dismiss (Dkt. #84). Counsel for Amazon did not oppose the filing of IAB’s amicus brief. IAB

20 also contacted Counsel for the FTC, who declined to consent.

21                        II.       IDENTITY AND INTEREST OF AMICUS CURIAE
22            Amicus curiae, IAB, founded in 1996 and headquartered in New York City represents over
23 700 leading media companies, brand marketers, agencies, and technology companies that are

24 responsible for selling, delivering, and optimizing digital advertising and marketing campaigns.

25 Together, our members account for 86 percent of online advertising expenditures in the United

26 States. Working with our member companies, the IAB develops both technical standards and best

27 practices for our industry. In addition, the IAB fields critical consumer and market research on
     IAB’S MOT. FOR LEAVE TO FILE AMICUS BRIEF
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                Case 2:23-cv-00932-JHC Document 106 Filed 10/25/23 Page 2 of 4




 1 interactive advertising, while also educating brands, agencies, and the wider business community

 2 on the importance of digital marketing.           The organization is committed to professional

 3 development and elevating the knowledge, skills, expertise, and diversity of the workforce across

 4 the digital advertising and marketing industry. Through the work of our public policy office in

 5 Washington, D.C., IAB advocates for our members and promotes the value of the interactive

 6 advertising industry to legislators and policymakers.

 7                   III.      REASONS WHY THE MOTION SHOULD BE GRANTED
 8            District courts have “broad discretion” to appoint amici curiae. Skokomish Indian Tribe v.

 9 Goldmark, 2013 WL 5720053, at *1 (W.D. Wash. Oct. 21, 2013) (quoting Hoptowit v. Ray, 682

10 F.2d 1237, 1260 (9th Cir. 1982)). “District courts frequently welcome amicus briefs from non-

11 parties concerning legal issues that have potential ramifications beyond the parties directly

12 involved or if the amicus has ‘unique information or perspective that can help the court beyond

13 the help that the lawyers for the parties are able to provide.’” NGV Gaming, Ltd. v. Upstream

14 Point Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005) (quoting Cobell v. Norton, 246

15 F. Supp. 2d 59, 62 (D.D.C. 2003)). The Court should exercise its discretion to permit IAB to file

16 the attached amicus brief. IAB has deep expertise on issues of digital advertising and marketing.

17 This background positions IAB to provide exactly the type of “unique information [and]

18 perspective” that amicus briefs are intended to supply.

19                                         IV.    CONCLUSION

20            For the reasons set forth above, the proposed amicus IAB respectfully requests the Court

21 grant it leave to file the amicus curiae brief attached as Exhibit A.

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 1            Dated: October 25, 2023            Respectfully submitted,

 2    AKIN GUMP STRAUSS HAUER & FELD LLP FENWICK & WEST LLP
 3
      Corey W. Roush (pro hac vice pending)      By: /s/ Brian D. Buckley
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 5    Washington, DC 20006                       Seattle, WA 98101
      Telephone:     (202) 887-4000              Telephone:     (206) 389-4510
 6    Email:         croush@akingump.com         Facsimile:     (206) 389-4511
                                                 Email:         bbuckley@fenwick.com
 7
      Attorneys for Amicus Curiae Interactive
 8    Advertising Bureau

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 1                                 LCR 7(E) WORD-COUNT CERTIFICATION

 2            As required by Western District of Washington Local Civil Rule 7(e), I certify that this

 3 memorandum contains 408 words.

 4

 5 Dated: October 25, 2023

 6                                                  FENWICK & WEST LLP

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 8                                                 By: /s/ Brian D. Buckley
                                                          Brian D. Buckley
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